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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

DOUGLAS BRUCE,
CIVIL ACTION - LAW

Plaintiff, JURY TRIAL DEMANDED
V.
THE HONORABLE
CITY OF PITTSTON, KAROLINE MEHALCHICK
PENNSYLVANIA,

No. 3:23-ev-00711-KM

Defendant.

DEFENDANT CITY OF PITTSTON’S BRIEF IN SUPPORT OF ITS
MOTION FOR SANCTIONS PURSUANT TO
FEDERAL RULE OF CIVIL PROCEDURE 11

Respectfully Submitted,

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DATED: June 15, 2023
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Defendant City of Pittston (the “City”) hereby submits this brief in support of
its motion for sanctions pursuant to Federal Rule of Civil Procedure 11.

I. PROCEDURAL/FACTUAL HISTORY

A. Procedural History.

On May 1, 2023, Plaintiff filed a four (4) count civil rights complaint against
the City asserting claims, through 42 U.S.C. § 1983, for the alleged violation of his
rights under the Fifth, Eighth and Fourteenth Amendments. See (Doc. 1), generally.

Count I contains a claim for the alleged violation of Plaintiffs rights under the
Takings Clause of the Fifth Amendment arising out of the June 25, 2019, demolition
of a building (the “Building”) formerly situated upon Plaintiff’s property located at
385 North Main Street, City of Pittston, Pennsylvania 18640 (the “Property”). Id. at
{{ 13, 22; see also (Doc. 26-34) at pp. 2-3. Count II asserts claims for the alleged
violation of Plaintiff's procedural due process rights under the Fourteenth
Amendment and the Due Process Clause of the Fifth Amendment arising out of the
demolition of the Building. Id. at 9 13, 26, 29. Count III asserts a claim for the
alleged violation of Plaintiff's substantive due process rights under the Fourteenth
Amendment arising out of the demolition of the Building. Id. at §§ 13, 32,38. Count
IV asserts a claim for the alleged violation of the Excessive Fines Clause of the Eighth

Amendment arising out of the demolition of the Building and the issuance of five (5)
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fines by Magisterial District Judge Alexandra Kokura Kravitz. Id. at J§ 11, 41, 44,
47-49.

On May 18, 2023, the City issued a safe harbor notice to Plaintiff's counsel in
conformity with Fed.R.Civ.P. 11(c)(2) seeking the withdrawal of Plaintiff's
complaint. See (Doc. 26-41) at pp. 2-34. On May 25, 2023, Plaintiffs counsel,
Aaron C. Garrett, provided the following response to the City’s safe harbor notice:

Before this case moves any farther down the road, we need
to address your Rule 11 letter. I have spoken to our client
regarding the information and argument contained in your
draft Rule 11 motion, and without revealing client
confidences, suffice it to say that there is a difference of
opinion between myself and Mr. Bruce regarding its
validity. I have told Mr. Bruce that the Complaint needs
to be withdrawn, but he will not agree to its withdrawal.
However, he will agree to allowing Danielle and myself to
withdraw from representing him in the case.

Would you stipulate to a motion for Danielle and I to

withdraw from the case, and would that address your

concerns with the Rule 11 letter? You could then proceed

to defend the case in whatever manner you see fit, with

Mr. Bruce proceeding pro se.

Please let me know your thoughts.
See (Doc. 26-42) at p. 2. On May 31, 2023, Plaintiffs counsel filed a Stipulated
Motion to Withdraw as Counsel, which was granted by the Court on June 7, 2023.

' See (Doc. 12) at pp. 1-6; see also (Doc. 18) at p. 1.
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On June 1, 2023, the City filed a case dispositive motion for judgment on the
pleadings.’ See (Doc. 14) at p. 1; see also (Doc. 17), generally. On June 2, 2023, the
City filed its supporting brief. see also (Doc. 17), generally.

On June 9, 2023, following the expiration of the safe harbor period, the City
filed the instant motion for sanctions due to Plaintiff's refusal to permit his counsel

to withdraw his complaint. See (Doc. 25), generally; see also (Doc. 26-42) at p. 2.

B. Factual Background.

Plaintiff is a resident of El Paso County, Colorado. See (Doc. 1) at 99 1, 7.
Plaintiff, who identifies himself as an Attorney, has “46 years of experience in

property ownership and... currently owns 50 properties across the country.” Bruce

v. City of Miamisburg, Ohio, No. 3:21-CV-80, 2023 WL 184010, at *4 (S.D. Ohio

Jan. 13, 2023); see also (Doc. 1) at § 46 (alleging that “Plaintiff is a former Deputy
District Attorney’’).

On or about October 22, 2012, Plaintiff, through a straw person, purchased the
Property for $17,500.00 from Deutsche Bank National Trust Company, but seeks in
excess of $500,000.00 in damages for the demolition of the Building on the Property.
See (Doc. 26-1) at pp. 2-5; see also (Doc. 26-2) at pp. 2-5; see also (Doc. 1) at ad

damnum (demanding “not less than $500,000.00” in damages).

1 The instant motion also advances arguments based on the statute of limitations
and the evidence supporting same that cannot currently be raised at this procedural
posture to be considered through a motion for judgment on the pleadings.

3

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The Code of the City of Pittston incorporates and adopts the International
Property Maintenance Code as the property maintenance code (‘‘Property
Maintenance Code”) for the City, for the purposes of “regulating and governing the
conditions and maintenance of all property, buildings and structures.” See (Doc. 26-
4) at pp. 2-6; see also (Doc. 26-6) at pp. 2-11.

On September 18, 2014, the Building was condemned by the City “due to
multiple, serious, persistent, unresolved violations” of the International Property
Maintenance Code. See (Doc. 26-3) at p. 2.

On April 25, 2018, Thomas Leonard, P.E. of TGL Engineering, Inc. issued a
report opining that the condition of the Building “presents a serious hazard to the
public.” See (Doc. 26-5) at p. 2.

On November 26, 2018, City Code Enforcement Officer Harry Smith (“Mr.
Smith”), issued an enforcement notice to Plaintiff directing that the Building be razed
within thirty (30) days in accordance with § 110.1 of the Property Maintenance Code,
advising Plaintiff that he had twenty (20) days to exercise his appellate rights through
the City of Pittston Property Maintenance Code Appeals Board, and notifying
Plaintiff that his “[flailure to comply may result in the issuance of a non-traffic
citation for each violation of the property maintenance code for [each] day [the]

offense continues” and that “[u]pon conviction, a fine of not less than $500.00 or
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more than $2,500.00 and court costs will be imposed per violation, and a lien may be
placed upon the property.” See (Doc. 26-3) at 2-9.

Despite being provided notice ordering the demolition of the Building,
Plaintiff failed to do so within the time required, and as a result, beginning on J anuary
4, 2019, and concluding on March 29, 2019, Mr. Smith issued Plaintiff a total of six
(6) non-traffic citations due to his failure to comply with § 110.1 of the Property
Maintenance Code, which violations carried a fine, if convicted, of $1,000.00 each.
See (Doc. 26-7) at p. 2; see also (Doc. 26-8) at pp. 2-4; see also (Doc. 26-9) at p. 2;
see also (Doc. 26-10) at pp. 2-4; see also (Doc. 26-11) at p. 2; see also (Doc. 26-12)
at pp. 2-4; see also (Doc. 26-13) at p. 2; see also (Doc. 26-14) at pp. 2-4; see also
(Doc. 26-15) at p. 2; see also (Doc. 26-16) at pp. 2-4; see also (Doc. 26-17) at p- 2;
see also (Doc. 26-18) at p. 2.

On or about January 17, 2019, Plaintiff submitted a “motion to dismiss” in
Magisterial District Court docket Nos. MJ-11104-NT-0000015-2019 (January 4,
2019, non-traffic citation R2456420-1) and MJ-11104-NT-0000023-2019 (January
8, 2019, non-traffic citation R2456425-6) to Magisterial District Judge Alexandra
Kokura Kravitz (“Judge Kokura Kravitz”), challenging the citations and disparaging
the Court. See (Doc. 26-19) at pp. 2-5 (arguing that the code enforcement
“proceeding is unworthy of a banana republic” and requesting that this “nonsense

‘case’ be dismissed”).

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On or about February 8, 2019, Plaintiff submitted a “renewed motion to
dismiss” supplementing his prior motion to dismiss to address the non-traffic
citations filed at Magisterial District Court docket Nos. MJ-11104-NT-0000133-
2019 (January 25, 2019, non-traffic citation R2456435-2) and MJ-11104-NT-
0000134-2019 (January 24, 2019, Non-Traffic Citation R2456434-1), and again
disparaging the Court. See (Doc. 26-20) at pp. 2-5 (calling the proceedings “patently
absurd” and stating that it “suggests a kangaroo court proceeding, but that would be
a slur on kangaroos”).

On or about April 3, 2019, Plaintiff submitted a “re-renewed motion to
dismiss” supplementing his prior motions to address the non-traffic citation filed at
Magisterial District Court docket No. MJ-11104-NT-0000270-2019 (March 19,
2019, non-traffic citation R2456493-4). See (Doc. 26-21) at p. 2.

On or about April 16, 2019, Plaintiff submitted a “re-re-re-re-renewed motion
to dismiss” supplementing his prior motions to address the non-traffic citation filed
at Magisterial District Court docket No. MJ-11104-NT-0000364-2019 (March 29,
2019, non-traffic citation R2455557-6), continuing to disparage the Court but also
including an ad hominem attacks against Judge Kokura Kravitz. See (Doc. 26-22) at
pp. 2-4 (stating that “I can’t believe Ms. Kravitz is a real judge who has read the U.S.

Constitution. Maybe the janitor is setting trial using her name”).

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On or about April 20, 2019, Plaintiff acknowledged, during a media interview,
receiving six (6) citations each carrying a $1,000.00 fine. See (Doc. 26-23) at pp. 2-
12.

On May 23, 2019, Magisterial District Judge Alexandra Kokura Kravitz found
Plaintiff guilty, in absentia, in case Nos. MJ-11104-NT-0000015-2019, MJ-11104-
NT-0000023-2019, MJ-11104-NT-0000133-2019, MJ-11104-NT-0000134-2019
and MJ-11104-NT-0000270-2019 and imposed a total of $5,000.00 in fines and
assessed $405.25 in court costs. See (Doc. 26-24) at pp. 2-3; see also (Doc. 26-25)
at pp. 2-3; see also (Doc. 26-26) at pp. 2-3; see also (Doc. 26-27) at pp. 2-3; see also
(Doc. 26-28) at pp. 2-3.

On May 23, 2019, Plaintiff was served through the court with Judge Kokura
Kravitz’s five (5) Orders Imposing Sentence. See (Doc. 26-24) at pp. 2-3; see also
(Doc. 26-25) at pp. 2-3; see also (Doc. 26-26) at pp. 2-3; see also (Doc. 26-27) at pp.
2-3; see also (Doc. 26-28) at pp. 2-3.

Plaintiff acknowledged the fines imposed in a media interview and continued
the ad hominem attacks on Judge Kokura Kravitz, and was quoted as follows: “Of
the magistrate who handled his municipal citation convictions, Bruce said: ‘She’s a
slob; she’s incompetent; she’s a political hack,’” and insisted “that the City’s actions
were illegal, that future liens would similarly be illegal, and he refused to pay them.”

See (Doc. 26-29) at pp. 2-8; see also (Doc. 26-38) at p. 2.
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No fine and/or sentence has been imposed by Judge Kokura Kravitz in docket
No. MJ-11104-NT-0000364-2019 due Plaintiff's failure to enter a plea. See (Doc.
26-30) at pp. 2-3.

On April 16, 2019, Thomas Leonard, P.E. issued a supplemental report opining
that “the building continues to present hazards to the general public,” including
“physical injury (wall failure/loose shingles), fire (trespassers), mold (stormwater
infiltration) and disease (animal carcasses)” and recommended “demolition of the
structure for health and safety of the general public.” See (Doc. 26-31) at p. 2.

On May 8, 2019, Mr. Smith issued a second enforcement notice to Plaintiff,
via certified mail and personal service through the El Paso County Sheriff’ s Office,
informing Plaintiff that due to “the current condition of the property, it is my opinion,
after consultation with an engineer, that this property is so deteriorated and
dilapidated that it is dangerous, unsafe, insanitary and otherwise unfit for human
habitation or occupancy and it is no longer able to be repaired,” directing that Plaintiff
demolish the Building and notifying Plaintiff that “[p]ursuant to section 110.3 of the
Property Maintenance Code, your failure to comply with this demolition order within
thirty (30) days will result in the demolition of the property by the City of Pittston
with all costs being charged against the real estate.” See (Doc. 26-32) at pp. 2-9. The
May 8, 2019, enforcement notice also informed Plaintiff that he had twenty (20) days

to appeal the enforcement action through the City of Pittston Property Maintenance

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Code Appeals Board, as set forth in § 111 of the Property Maintenance Code. Id. at
p. 4.

Plaintiff did not timely appeal the enforcement action to the City of Pittston
Property Maintenance Code Appeals Board or demolish the Building.

On June 24, 2019, City Council unanimously passed Resolution Number
12275 legislatively authorizing the demolition of the Building. See (Doc. 26-33) at
pp. 2-4.

The Building on the Property was demolished by the City on June 25, 2019.
See (Doc. 26-37) at pp. 2-3; see also (Doc. 26-23) at pp. 2-12; see also (Doc. 26-34)
at pp. 2-5.

No later than June 26, 2019, Plaintiff was aware that the Building was
demolished, but did not file this action until nearly four (4) years later. Id.; see also
(Doc. 26-29) at pp. 2-8; see also (Doc. 1), generally (complaint filed on May 1, 2023,
which is approximately 3 years and 10 months after Plaintiff learned of demolition
and imposition of the fines). Specifically, on June 26, 2019, Plaintiff told Fox56
News that he intended on suing the City for demolishing the Building, that it would
be “an easy win,” and that the City is “going to pay dearly.” See (Doc. 26-3 4) at pp.
2-5. Additionally, on or about June 27, 2019, Plaintiff told Conrad Swanson of The

Gazette, that "[t]he building was demolished without due process" and that he was
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looking “to find a Pennsylvania attorney to sue them in federal court.” See (Doc. 26-
29) at pp. 2-8.

Il. ARGUMENT

A. Standard.

“Rule 11 imposes an affirmative duty on an attorney and/or a party to conduct

a reasonable inquiry into the factual and legal bases of all claims before filing any

document with the court.” Del Giudice v. $.A.C. Cap. Memt., LLC, No. CIV. A. 06-

1413 SRC, 2009 WL 424368, at *6-7 (D.N.J. Feb. 19, 2009).
In relevant part, Rule 11 provides:

(b) Representations to the Court. By presenting to the
court a pleading, written motion, or other paper—whether
by signing, filing, submitting, or later advocating it—an
attorney or unrepresented party certifies that to the best of
the person's knowledge, information, and belief, formed
after an inquiry reasonable under the circumstances:

(1) it is not being presented for any improper purpose, such
as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation;

(2) the claims, defenses, and other legal contentions are
warranted by existing law or by a nonfrivolous argument
for extending, modifying, or reversing existing law or for
establishing new law;

(3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary
support after a reasonable opportunity for further
investigation or discovery ...

Id. (citing Fed.R.Civ.P. 11(b)(1)-(3)).

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“In determining whether a party or attorney has violated the duties of Rule 11,
the Court must apply an objective standard of reasonableness under the
circumstances.” Id. “The Third Circuit has held that ‘[a]n inquiry is considered
reasonable under the circumstances if it provides the party with ‘an ‘objective
knowledge or belief at the time of the filing of a challenged paper’ that the claim was
well-grounded in law and fact.’” Id.

“Rule 11 authorizes a court ‘to impose an appropriate sanction’ on an attorney
and/or party found to have violated the obligations of the rule.” Id. “In this way, the
rule seeks ‘to curb abusive litigation tactics and misuse of the court's process.’” Id.
“The sanction ‘must be limited to what suffices to deter repetition of the conduct or
comparable conduct by others similarly situated.’” Id. “Appropriate sanctions may
include directives of a non-monetary nature, orders to pay a penalty into court, an
award of attorneys' fees and costs, or even dismissal of acase.” Id.

“Ifa party chooses to bring a motion for sanctions under Rule 11, it must first
serve the motion on the party and/or attorney against whom sanctions are sought and
then wait at least 21 days after service before filing the motion with the court.” Id.
“This ‘safe-harbor’ provision of Rule 11 permits the allegedly offending party or

attorney an opportunity to withdraw the challenged pleading.” Id.

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B. _ Plaintiff’s Constitutional Claims Are Objectively Meritless,
Groundless And Frivolous And Plaintiff’s Refusal To
Withdraw The Same Constitutes Sanctionable Conduct.

1. Plaintiff's Fifth, Eighth And Fourteenth
Amendment Claims Based On The Demolition
Of The Building Are Barred By The Statute Of
Limitations.

On June 26, 2019, Plaintiff told Fox56 News that he intended on suing the City
for demolishing the Building, that it would be “an easy win,” and that the City is
“going to pay dearly.” See (Doc. 26-34) at pp. 2-4. On or about June 27, 2019,
Plaintiff told Conrad Swanson of The Gazette, that "[t]he building was demolished
without due process" and that he was looking “to find a Pennsylvania attorney to sue
them in federal court.” See (Doc. 26-29) at pp. 2-8.

“Under federal law, which governs the accrual of § 1983 claims, a § 1983 cause
of action begins to accrue when the plaintiff knows, or has reason to know, of the

injury on which the action is based.” Soppick v. Borough of W. Conshohocken, 118

F. App'x 631, 634 (3d Cir. 2004). The two-year statute of limitations applies to §

1983 claims. See Stacey v. City of Hermitage, 178 F. App'x 94, 100 (3d Cir. 2006)

(two-year statute of limitations applies to § 1983 claims arising from the demolition
of a structure).
Plaintiff's complaint — filed approximately three (3) years and ten (10) months

after he knew the Building was demolished — conspicuously omits the date that the

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Building was demolished or when Plaintiff learned of the demolition. See (Doc. 1),
generally. This lack of candor is purposeful and designed to conceal the fact that
Plaintiff's Fifth, Eighth and Fourteenth Amendment claims, brought through 42
U.S.C. § 1983, based on the allegedly unlawful demolition of the Building are time

barred. Matthews v. Freedman, 128 F.R.D. 194, 198 (E.D. Pa. 1989), affd, 919 F.2d

135 (3d Cir. 1990), and aff'd sub nom. Appeal of Kramer, 919 F.2d 135 (3d Cir. 1990)

(finding “[t]he filing of a Title VII claim clearly precluded by the applicable statute
of limitations is legally frivolous, is not well grounded in fact, and is without factual
or legal justification; the filing of such a claim cannot, therefore, be characterized as
‘reasonable under the circumstances’” and holding that continuing to assert a time-
barred Title VII claim warrants Rule 11 sanctions).

Plaintiff's Fifth, Fourteenth and Eighth Amendment claims related to the
demolition of the Building accrued on June 26, 2019, i.e., when Plaintiff knew of the
allegedly wrongful demolition, and are therefore barred by the two-year statute of
limitations applicable to claims brough through 42 U.S.C. § 1983, which expired on

June 28, 2021.7 See Bruce v. City of Miamisburg, Ohio, No. 3:21-CV-80, 2023 WL

184010, at *5 (S.D. Ohio Jan. 13, 2023) (rejecting Plaintiffs statute of limitations

arguments in a similar case and finding that “[i]f the Court followed Bruce's

2 “Tt is well-settled that, if there is no violation in the first place, there can be no
derivative municipal claim.” Mulholland v. Gov't Cnty. of Berks, Pa., 706 F.3d 227,
238 (3d Cir. 2013).

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suggestions, any far-off and difficult to locate landlord could let their property fall
into complete ruin and then sue the city that demolished the blight for a significant
sum by simply ignoring their property entirely. This would leave local governments
powerless to protect the health and safety of its communities from derelict and
dangerous structures. The Court is not willing to endorse such a complete abdication
of responsibility by property owners”); see also (Doc. 26-34) at pp. 2-5; see also
(Doc. 26-29) at pp. 2-8.

Here, application of the law to the objective facts present in this case
demonstrates that Plaintiff's Constitutional claims related to the demolition of the
Building were at the time of filing foreclosed by existing law and conclusively

unreasonable. See Matthews, 128 F.R.D. at 201 (stating that “arguments which

ignore existing caselaw altogether are considered ‘conclusively’ unreasonable”); see

also Bloomfield Condo. Assocs., LLC v. Drasco, No. CIV.A.08-6159 (KSH), 2010

WL 2652465, *5 (D.N.J. June 25, 2010) (“A careless filing without reasonable
factual or legal grounds warrants sanctions, and they are warranted here”),

As this Court is aware, Rule 11 imposes an obligation to ‘Stop, Think,
Investigate and Research’ before filing papers either to initiate a suit or to conduct

the litigation,” which plainly did not occur here. See Gaiardo v. Ethyl Corp., 835

F.2d 479, 482 (3d Cir. 1987) (recognizing that a “pure heart and empty head” is not

a defense to sanctions under Rule 11); see also Young v. Smith, 269 F. Supp. 3d 251,

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332 (M.D. Pa. 2017), aff'd, 905 F.3d 229 (3d Cir. 2018) (“Civil rights cases are not
sweepstakes tickets”). Accordingly, the Court should find that Rule 11 was violated
with respect to Plaintiff's Fifth, Fourteenth and Eighth Amendment claims related to
the demolition of the Building.

2. Plaintiff's Excessive Fines Clause Claims Under
The Eighth Amendment Related To The May 23,
2019, Imposition Of Five (5) Fines By
Magisterial District Judge Alexandra Kokura-
Kravitz Are Barred By The Statute Of
Limitations.

Plaintiff's complaint does not identify with any specificity the fines he is
complaining about, the date the fines were imposed by the Court or date that he
learned that the fines were imposed. See (Doc. 1), generally. These omissions are
not inadvertent as his excessive fines claims are also time barred.

Specifically, on or about April 20, 2019, Plaintiff acknowledged, during a
media interview, to receiving six (6) citations each carrying a $1,000.00 fine. See
(Doc. 26-23) at pp. 2-12. Plaintiff also provided the following quote during an
interview on the same day:

“Direct quote: These people are idiots,” Bruce said. “They
think they can demand that anybody in the would go to

their Podunk little court that doesn’t understand squat
about the Constitution.

“T’ve written to them at length and explained to them that
the charge is unintelligible,” Bruce said. “These people are
morons and they’re going to find out that they have to obey

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the Constitution and they can’t bulldoze a building just
because it’s empty.”

Id. at p. 4. Plaintiff is referencing four (4) motions to dismiss he filed with the court
on January 17, 2019, February 8, 2019, April 3, 2019, and April 16, 2019, containing
ad hominem attacks directed at Judge Kokura-Kravitz and trivializing the
proceedings. See (Doc. 26-19) at pp. 2-5 (arguing that the code enforcement
“proceeding is unworthy of a banana republic” and requesting that this “nonsense
‘case’ be dismissed”); see also (Doc. 26-20) at pp. 2-5 (calling the proceedings
“patently absurd” and stating that it “suggests a kangaroo court proceeding, but that
would be a slur on kangaroos”); see also (Doc. 26-21) at p. 2 (requesting that the
court “[d]ismiss theses idiotic trash citations, go away, and leave defendant alone);
see also (Doc. 26-22) at pp. 2-4 (stating that “I can’t believe Ms. Kravitz is a real
judge who has read the U.S. Constitution. Maybe the janitor is setting trial using her
name”).

On May 23, 2019, Judge Kokura Kravitz found Plaintiff guilty, in absentia, in
case Nos. MJ-11104-NT-0000015-2019, MJ-11104-NT-0000023-2019, MJ-11104-
NT-0000133-2019, MJ-11104-NT-0000270-2019 and MJ-11104-NT-0000134-2019
and imposed, in the aggregate, $5,000.00 in fines plus court costs. See (Doc. 26-24)
at pp. 2-3; see also (Doc. 26-25) at pp. 2-3; see also (Doc. 26-26) at pp. 2-3; see also
(Doc. 26-27) at pp. 2-3; see also (Doc. 26-28) at pp. 2-3. On May 23, 2019, Plaintiff

was served by the court, at his acknowledged address of P.O. Box 26018, Colorado
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Springs, Colorado 80936, with five (5) Orders Imposing Sentence. See (Doc. 26-24)
at p. 3; see also (Doc. 26-25) at p. 3; see also (Doc. 26-26) at p. 3; see also (Doc. 26-
27) at p. 3; see also (Doc. 26-28) at p. 3.

On or about June 27, 2019, Plaintiff acknowledged the imposition of the fines
in another interview, and was quoted as follows: “Of the magistrate who handled his
municipal citation convictions,” Bruce said: ‘She’s a slob; she’s incompetent; she’s
a political hack,’” and insisted “that the City’s actions were illegal, that future liens
would similarly be illegal, and he refused to pay them.” See (Doc. 26-29) at pp. 2-8;
see also (Doc. 26-38) at p. 2.

Plaintiff's excessive fines claims related to the May 23, 2019, imposition of
five (5) fines by Judge Kokura Kravitz are barred by the two (2) year statute of
limitations applicable to § 1983 claims.? See (Doc. 26-24) at pp. 2-3; see also (Doc.
26-25) at pp. 2-3; see also (Doc. 26-26) at pp. 2-3; see also (Doc. 26-27) at pp. 2-3;

see also (Doc. 26-28) at pp. 2-3.; see also Matthews, 128 F.R.D. at 198 (finding

“claim clearly precluded by the applicable statute of limitations is legally frivolous”
and warrants Rule 11 sanctions). Plaintiff filed this action nearly four (4) years after
he was aware of the imposition of such fines, well beyond the applicable two-year

statute of limitations. Accordingly, the Court should find that Rule 11 was violated.

3 “It is well-settled that, if there is no violation in the first place, there can be no
derivative municipal claim.” Mulholland, 706 F.3d at 238.

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3. The Unimposed Fine Related To Magisterial
District Court Docket No. MJ-11104-NT-
0000364-2019 Is Not Ripe As It Has Not Yet Been
Imposed.

No fine has been imposed by Judge Kokura Kravitz in docket No. MJ-11104-
NT-0000364-2019 due to Plaintiff's failure to enter a plea. See (Doc. 26-30) at pp.

2-3. “A claim is not ripe for adjudication if it rests upon ‘contingent future events

that may not occur as anticipated, or indeed may not occur at all.’” Texas v. United
States, 523 U.S. 296, 300, 118 S. Ct. 1257, 1259, 140 L. Ed. 2d 406 (1998) (citing

Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 580-581, 105 S.

Ct. 3325, 3333, 87 L. Ed. 2d 409 (1985)). Section 370-2 (D) of the City Code controls
the imposition of a fine under the Property Maintenance Code and provides that only
“[u]pon conviction before the Magisterial District Judge” may a fine be imposed. See
(Doc. 26-4) at p. 5. Plaintiff's excessive fines claim based on the unimposed fine is

not ripe because the court has not yet assessed a fine, and thus such claim is clearly

meritless and frivolous. See City of Chicago v. Equte LLC, No. 21 C 518, 2022 WL

2132630 at *3 (N.D. Ill. June 14, 2022) (“Because the Court has not yet assessed a
fine, Defendants’ excessive fines claim is not ripe”). “‘[T]he central purpose of Rule
11 is to deter baseless filings in district court.’” Young, 269 F. Supp. 3d at 332.

Accordingly, the Court should find that Rule 11 was violated. See Matthews, 128

F.R.D. at 201 (stating that “arguments which ignore existing caselaw altogether are

considered ‘conclusively’ unreasonable”).

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4. Plaintiff's Fourteenth Amendment Due Process
Claim Is Based On A False Representation To.
The Court.

Plaintiff's complaint asserts a pre-deprivation procedural due process claim
under the Fourteenth Amendment arising out of the demolition of the Building. See
(Doc. 1) at §{] 13, 26, 29. Specifically, Plaintiff alleges that he “never received any
notice in advance of the demolition of the building on the Property and he therefore
did not have the ability to contest the same.” Id. at {§ 12-13. This representation is
false. Contrary to his representations to the Court, Plaintiff received, by way of
certified mail and personal service through the El Paso County Sheriff's Office, notice
that if he did not appeal the enforcement decision of the City within twenty (20) days
or demolish the Building within thirty (30) days the City would do so. See (Doc. 23-

32) at pp. 2-9; see also (Doc. 26-43) at pp. 2-6; see also Alvin v. Suzuki, 227 F.3d

107, 116 (3d Cir. 2000) (“In order to state a claim for failure to provide due process,
a plaintiff must have taken advantage of the processes that are available”). Such
misrepresentation to the Court is itself sanctionable, but it also is fatal to any claim
by Mr. Bruce.

“As a matter of law, constitutionally adequate procedural due process exists
when a state provides reasonable remedies to rectify an alleged legal error by a local

administrative body.” Donovan v. Pittston Area Sch. Dist., 218 F. Supp. 3d 304, 314

(M.D. Pa. 2016), affd, 717 F. App'x 121 (3d Cir. 2017). “When a state affords a

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mechanism with which to challenge an administrative decision, adequate procedural
due process is provided, whether or not the plaintiff avails him/herself of the
mechanism.” Id. (citing Alvin, 227 F.3d 107, 116 (3d Cir. 2000)). “If there is a
process on the books that appears to provide due process, the plaintiff cannot skip
that process and use the federal courts as a means to get back what he wants.” Id.
On May 23, 2019, Plaintiff was personally served by the El Paso County
Sheriff's Office with the May 8, 2019, enforcement notice issued by Mr. Smith
directing Plaintiff to demolish the Building within thirty (30) days and notifying
Plaintiff that if he failed to comply that the City would demolish the Building
pursuant to § 110.3 of the Property Maintenance Code. See (Doc. 23-32) at pp. 2-9
(Plaintiff also accepted certified mail notice of the May 8, 2019, enforcement notice
on May 13, 2019). The May 8, 2019, enforcement notice also notified Plaintiff that
he had twenty (20) days to appeal the enforcement action through the City of Pittston

Property Maintenance Code Appeals Board, as set forth in § 111.14 of the Property

4 Section 111.1 of the Property Maintenance Code provides as follows:

Any person directly affected by a decision of the code
official or a notice of order issued under this code shall
have the right to appeal to the board of appeals, provided
that a written application for appeal is filed within 20 days
after the day the decision, notice or order was served. An
application for appeal shall be based on a claim that the true
intent of this code or the rules legally adopted thereunder
have been incorrectly interpreted, the provisions of this

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Maintenance Code. Id. at p. 4. Specifically, the May 8, 2019, enforcement notice
that Plaintiff received informed him, in pertinent part, as follows:
Appeals of this enforcement action under the property
maintenance code may be filed within twenty (20) days by
filing an application with the City of Pittston Property
Maintenance Code Appeals Board, as set forth in Section
111 of the property maintenance code. Please contact the

city’s administrative offices for the required forms and fee
schedule to file this type of appeal.

Plaintiffs pre-deprivation is baseless. Despite his representations to the
contrary, Plaintiff was afforded the opportunity to appeal the enforcement action
related to the demolition of his Building and failed to avail himself of that process.

Plaintiff may not “skip that process and use the federal courts as a means to get back

what he wants.” Donovan, 218 F. Supp. 3d at 314; Gardner v. McGroarty, 68 F.
App'x 307, 311 (3d Cir. 2003) (dismissing the plaintiff's procedural due process
claim finding that the plaintiff did not avail himself of the procedural protections
afforded under the Wilkes—Barre Housing Code because he declined to appeal the
decision to post his apartment building as unfit for habitation to the Building Board

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of Appeals). “‘[T]he central purpose of Rule 11 is to deter baseless filings in district

code do not fully apply, or the requirements of this code are
adequately satisfied by other means.

See (Doc. 26-6) at p. 10.

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court.”” Young, 269 F. Supp. 3d at 332. Accordingly, the Court should find that

Rule 11 was violated. See Matthews, 128 F.R.D. at 201 (stating that “arguments

which ignore existing caselaw altogether are considered ‘conclusively’
unreasonable’’).

C. Irrespective Of The Conspicuous Omissions From And
Misrepresentations Contained In Plaintiff’s Complaint
Designed To Put Forward Plausible Constitutional Claims,
The Same Fail Substantively.*

1. Plaintiff's Fifth Amendment Takings Clause
Claim Fails As A Matter Of Law Because The
Demolition Of The Building Occurred Incident
To The City’s Exercise Of Its Police Power And,
Therefore, The Demolition Does Not Constitute
A Taking Within The Meaning Of The Fifth
Amendment.

Plaintiff's Fifth Amendment Takings Clause claim fails as it is well settled that
“property is not ‘taken’ where a city or other appropriate public authority has acted

pursuant to its right and obligation to ensure public safety in remediating a dangerous

condition.” 3909 Realty LLC v. City of Philadelphia, No. CV 21-0030, 2021 WL

2342929, at *5 (E.D. Pa. June 8, 2021). Here, on November 26, 2018, Mr. Smith

issued an enforcement notice to Plaintiff directing that he demolish the Building,

5 Mindful of the Court’s time, but cognizant of the prohibition on incorporating
by reference all or any portion of any other brief contained in Local Rule 7.8, and for
purposes of completeness, the City is including herein a substantive analysis of
Plaintiff's Constitutional claim in a truncated fashion as the same substantive
challenges have already been advanced through the City’s case dispositive motion
for judgment on the pleadings. See (Doc. 17) at pp. 15-42.

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which had been in a condemned status since 2014, in accordance with § 110.1 of the
Property Maintenance Code because the Building posed “a risk to emergency
personnel and nearby residents.” See (Doc. 26-3) at pp. 2-9. Plaintiff did not comply.

On May 8, 2019, Mr. Smith issued a second enforcement notice to Plaintiff,
via certified mail and personal service through the El Paso County Sheriff’ s Office,
informing Plaintiff that due to “the current condition of the property, it is my opinion,
after consultation with an engineer, that this property is so deteriorated and
dilapidated that it is dangerous, unsafe, insanitary and otherwise unfit for human
habitation or occupancy and it is no longer able to be repaired,” directing that Plaintiff
demolish the Building and notifying Plaintiff that “[p]ursuant to section 110.3 of the
Property Maintenance Code, your failure to comply with this demolition order within
thirty (30) days will result in the demolition of the property.” See (Doc. 26-32) at pp.
2-9. Plaintiff, again, did not comply. Here, the derelict Building was razed in

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accordance with the City’s “police power” and the same does not, as a matter of law,

constitute a compensable taking within the meaning of the Takings Clause of the
Fifth Amendment. As such, the claim is frivolous and sanctions are appropriate.
2. Plaintiffs Fifth Amendment Takings Clause
Claim Fails As A Matter Of Law Because

Plaintiff Maintains Title To And Possession Of
The Property.

Alternatively, Plaintiffs Fifth Amendment Taking Clause claim fails because

Plaintiff maintains title to and a possessory interest in the Property. See (Doc. 26-1)
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at pp. 2-5; see also (Doc. 1) at { 7; see also Munoz v. City of Union City, 481 F.

App’x 754, 759 (3d Cir. 2012) (finding no taking occurred where plaintiff retained a

possessory interest in the property); see also 3909 Realty LLC, 2021 WL 2342929,

at *5 (holding that because the plaintiffs “retained possession of the Property and the

ability to “put the property to any number of beneficial uses’ the City’s demolition of

the Property cannot constitute a taking”); see also Bush v. City of Scranton, No.
3:CV-11-0670, 2013 WL 5465334 at *17 (M.D. Pa. Sept. 30, 2013) (dismissing the
plaintiffs’ Fifth Amendment takings claim because the plaintiffs still owned the land

where both their house and garage stood); see also Fisher v. Pratt, No. CV 19-273

(NLH/KMW), 2020 WL 773262, at *7 (D.N.J. Feb. 18, 2020) (holding that the
plaintiff's “continuing possessory interest in the property prevents him from
establishing a Takings Clause violation”). Here, it is undisputed that Plaintiff
maintains ownership of the Property, therefore, his Fifth Amendment takings claim
fails as a matter of law. See (Doc. 26-1) at pp. 2-5; see also (Doc. 1) at 9 7. As such,
the claim is frivolous and sanctions are appropriate.

3. Plaintiff's Fifth Amendment Due Process Clause
Claim Fails As A Matter Of Law.

Plaintiff's Fifth Amendment Due Process Clause claim also fails because
Plaintiff's complaint does not complain of any federal government action. See (Doc.

1), generally; see also Walker v. Brittain, No. 1:22-CV-00965, 2022 WL 4454525,

at *3 (M.D. Pa. Sept. 23, 2022) (holding that because the plaintiff's complaint
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complains of the conduct of state employee, not federal employees, “the Due Process
Clause of the Fifth Amendment is inapplicable”).

4. Plaintiff's Post-Deprivation Procedural Due
Process Claim Fails As A Matter Of Law.

To the extent that Plaintiff's complaint can be interpreted as also advancing a
post-deprivation® procedural due process claim under the Fourteenth Amendment,
the same fails because Plaintiff has not availed himself of the state law remedy
available for inverse condemnation provided through the Pennsylvania Eminent

Domain Code. See (Doc. 1), generally; see also Florimonte v. Borough of Dalton,

No. 3:CV-14-0341, 2014 WL 3114071 at *14 (M.D. Pa. July 7, 2014), aff'd, 603 F.
App'x 67 (3d Cir. 2015) (Plaintiff has failed to state a Fourteenth Amendment
procedural due process claim since she clearly had adequate post deprivation

remedies available to her in Lackawanna County Court as well as the state appellate

courts); see also Perano v. Twp. Of Tilden, 423 F. App'x 234, 237-38 (3d Cir. 2011)

(dismissing procedural due process claim for failure to take advantage of state remedy

under the Eminent Domain Code).

6 Plaintiff pre-deprivation procedural due process claim under the Fourteenth
Amendment is addressed above.

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5. Plaintiff's Fourteenth Amendment Substantive
Due Process Claim Fails As A Matter Of Law.

Plaintiff's substantive due process claim fails because the demolition of
Plaintiff's unsafe Building was rationally related to a legitimate state interest and

does not shock the conscience. Whittaker v. Cnty. of Lawrence, 674 F. Supp. 2d 668,

701 (W.D. Pa. 2009), aff'd, 437 F. App'x 105 (3d Cir. 2011); see also Madar v. City

of Philadelphia, No. CV 19-6033, 2021 WL 2156362 at **6-7 (E.D. Pa. May 27,

2021) (holding that “demolition of an imminently dangerous structure does not shock

the conscience”) (citing Kaucher v. Cnty. of Bucks, 455 F.3d 418, 425 (3d Cir.

2006)); see also Stein v. City of Philadelphia, 994 F. Supp. 2d 660, 662 (E.D. Pa.

2014) (“Whether the government's conduct shocks the conscience is a question of
law for the Court to decide”). Demolishing, in conformity with the Property
Maintenance Code, a dangerous, uninhabitable and rodent infested building that
posed a continuing risk to emergency personnel and nearby residents, does not, as a
matter of law, rise to the level of the “most egregious official conduct,” which is fatal

to Plaintiff's substantive due process claim. See Harmon v. Sussex Cnty., No. CV

17-1817-RGA, 2019 WL 4344635 at *7 (D. Del. Sept. 12, 2019), aff'd, 810 F. App'x
139 (3d Cir. 2020) (“Given the unsafe structure and that the property was unfit for
human occupancy, no reasonable jury could find that the demolition in accordance
with Sussex County Code rules and procedures shocks the conscience”); see also

(Doc. 26-3) at pp. 2-9; see also (Doc. 26-5) at p. 2; see also (Doc. 26-31) at p. 2; see
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also (Doc. 26-32) at pp. 2-9; see also (Doc. 26-6) at pp. 9-10. As such, the claim is
frivolous and sanctions are appropriate.

6. Plaintiff's Eighth Amendment Excessive Fines
Clause Claims Based On Fines Imposed By The
Magisterial District Court Are Barred By The
Rooker-Feldman Doctrine.

Plaintiff s Eighth Amendment Excessive Fines Clause claims based on the five

(5) fines imposed’ by Judge Kokura Kravitz are barred by the Rooker-Feldman

doctrine. See Martin v. Pennsylvania, No. 1:18-CV-1904, 2019 WL 12054772, at *4

(M.D. Pa. Aug. 7, 2019), report and recommendation adopted, No. 1:18-CV-01904,
2020 WL 9209709 (M.D. Pa. Feb. 24, 2020). Plaintiff should be personally familiar
with this analysis, as he has previously tried to assert such claims in federal court in
Colorado, wherein the district court concluded that it did not have jurisdiction under

Rooker-Feldman. See Bruce v. City & Cnty. of Denver, No. 1:20-CV-02099-RBJ ,

2021 WL 4521899, at *S (D. Colo. Oct. 4, 2021) (“A federal court plaintiff is
complaining of injuries caused by a state court judgment. His injuries cannot be
remedied without undoing the state court judgment. This Court does not have

jurisdiction over Mr. Bruce's claims—he must seek his remedies elsewhere”), aff'd,

7 Plaintiff's Eighth Amendment claim related to the unripe, unimposed fine
related to Magisterial District Court Docket No. MJ-11104-NT-0000364-2019 is

addressed above.
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57 F.4th 738 (10th Cir. 2023). As such, the claim is frivolous and sanctions are
appropriate.
7. Demolition of A Derelict Building In Accordance

With The Property Maintenance Code Does Not
Constitute Punishment For A Criminal Offense.

The demolition of a derelict building does not constitute “punishment for a

criminal offense” for purposes of the Eighth Amendment. See Tillman v. Lebanon

Cnty. Corr. Facility, 221 F.3d 410, 420 (3d Cir. 2000) (“The term ‘fine’ refers to

punishment for a criminal offense”); see also John Corp. v. City of Houston, 214 F.3d

573, 580 (Sth Cir. 2000) (holding that the appellants’ Eighth Amendment claim based
on the demolition of forty-one buildings was frivolous and rejecting the argument
that the demolition of their buildings constituted punishment for purposes of the
Eighth Amendment). As such, the claim is frivolous and sanctions are appropriate.

8. Punitive Damages Are Not An Available
Remedy Against The City.

Punitive damages against the City are not recoverable as a matter of law. City

of Newport v. Fact Concerts, Inc., 453 U.S. 247, 101 S. Ct. 2748, 69 L.Ed.2d 616

(1981).

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D. Dismissal Of Plaintiff?s Complaint With Prejudice And An
Award Of Attorney’s Fees Paid By Plaintiff To The City Is
An Appropriate Sanction.

“Once a violation of Rule 11 has been established, a district court ‘has

discretion to tailor sanctions to the particular facts of the case.’” See Young, 269 F.

Supp. 3d at 334; see also Lieb v. Topstone, Indus., Inc., 788 F.2d 151, 157 (3d Cir.
1986) (sanctions are mandatory if a Rule 11 violation is found).
Rule 11 states in pertinent part as follows:

the court may impose an appropriate sanction on any

attorney, law firm, or party that violated the rule or is

responsible for the violation.
See Fed.R.Civ.P. 11(c)(1). “Parties, not just their attorneys, are bound by the
obligations of Rule 11 and may likewise be sanctioned for a breach of those
obligations.” Del Giudice, 2009 WL 424368, at *10.

“A sanction imposed under [Rule 11] must be limited to what suffices to deter
repetition of the conduct or comparable conduct by others similarly situated.” See
Fed.R.Civ.P. 11(c)(4). “Thus, the appropriate sanction must... achieve Rule 11's
central purpose: ‘deterrence of frivolous lawsuits.’” See Young, 269 F. Supp. 3d at
334. “The sanction may include nonmonetary directives; an order to pay a penalty
into court; or, if imposed on motion and warranted for effective deterrence, an order

directing payment to the movant of part or all of the reasonable attorney's fees and

other expenses directly resulting from the violation.” Id. (recognizing that “‘[t]he

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court has available a variety of possible sanctions to impose for violations, such as
striking the offending paper; issuing an admonition, reprimand, or censure; requiring
participation in seminars or other educational programs; ordering a fine payable to
the court; referring the matter to disciplinary authorities..., etc.’”); see also
Fed.R.Civ.P. 11(c)(4).

“[F]ederal courts in the Third Circuit's venire and the Advisory Committee
Notes to Rule 11 have also set forth certain factors useful in determining the
appropriate sanction for a violation of Rule 11.” See Young, 269 F. Supp. 3d at 334.

They include:

Whether the improper conduct was willful, or negligent;
whether it was part of a pattern of activity, or an isolated
event; whether it infected the entire pleading, or only one
particular count or defense; whether the person has
engaged in similar conduct in other litigation; whether it
was intended to injure; what effect it had on the litigation
process in time or expense; whether the responsible person
is trained in the law; what amount, given the financial
resources of the responsible person, is needed to deter that
person from repetition in the same case; what amount is
needed to deter similar activity by other litigants: all of
these may in a particular case be proper considerations.

The instant action, designed by Plaintiff to make the City “pay dearly” is a

“misuse of the [District] court’s processes and constitutes “abusive litigation,” which

constitutes a violation of Rule 11. Id.; see also Ferreri v. Fox, Rothschild, O'Brien &

Frankel, 690 F. Supp. 400, 405 (E.D. Pa. 1988); see also (Doc. 26-34) at p. 3;
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Compare (Doc.1) at {14 (Plaintiff demanding “an amount no less than $500,000.00)
with (Doc. 26-2) at p. 2 (purchase price for Property $17,500.00). Plaintiffs counsel
themselves recognized the inappropriateness of continuing this litigation and sought
to withdraw from further representing Plaintiff in this action after he refused to
withdraw the complaint. See (Doc. 12) at pp. 1-6; see also (Doc. 26-42) at p. 2. The
tactical omissions and misrepresentations of Plaintiff, a former Deputy District
Attorney, in his complaint constitute deliberate indifference to obvious facts in the
pursuit of a monetary award and warrants a sanction designed to place the City legally
and financially in the same position it would have occupied but for the improper filing
of Plaintiffs complaint. Accordingly, the most appropriate sanction here is the
dismissal of Plaintiff's complaint, the entry of judgment in favor of the City and an
award of attorney’s fees payable to the City by the Plaintiff for the costs of defending
this action and filing this motion following the submission of a properly supported

fee petition. See Vehicle Operation Techs. LLC v. Am. Honda Motor Co. Inc., 67 F.

Supp. 3d 637, 653 (D. Del. 2014) (Dismissal with prejudice was warranted as
sanction under Rule 11 for failure of attorney to conduct reasonable pre-suit

investigation); see also Del Giudice, 2009 WL 424368, at *12 (holding that dismissal

is the only appropriate sanction and that the suitability of this disposition is

highlighted by the fact that plaintiff's counsel themselves ultimately recognized the

inappropriateness of continuing the litigation); see also Keister v. PPL Corp., 318

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F.R.D. 247, 256 (M.D. Pa. 2015) (finding an award of reasonable attorney fees to
defendants was warranted as Rule 11 sanction in frivolous employment

discrimination lawsuit).

it. CONCLUSION

For all or any of the foregoing reasons, Defendant City of Pittston respectfully
requests that its motion for sanctions be granted, that the complaint (Doc. 1) of
Plaintiff Douglas Bruce be dismissed, that judgment be entered in favor of the City
of Pittston and against Plaintiff Douglas Bruce and for an award of attorney’s fees
payable by Plaintiff Douglas Bruce to Defendant City of Pittston.

Respectfully Submitted,

s/ Joseph J. Joyce, IT

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DATED: June 15, 2023

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

DOUGLAS BRUCE,
CIVIL ACTION - LAW
Plaintiff, JURY TRIAL DEMANDED
Vv.
THE HONORABLE
CITY OF PITTSTON, KAROLINE MEHALCHICK
PENNSYLVANIA,
No. 3:23-cev-00711-KM
Defendant.

WORD CERTIFICATION

The undersigned counsel for Defendant City of Pittston hereby certifies that
the foregoing brief in support Defendant City of Pittston’s brief in support of its
motion for sanctions pursuant to Federal Rule of Civil Procedure 11 contains less
than 7,800 words as authorized by the Court’s June 15, 2023, Order (Doc. 29). I have
relied on the word count feature of the word processing system which indicates that

7,685 words are contained in the foregoing brief.

s/ Joseph J. Joyce, IIT
Joseph J. Joyce, II

DATED: June 15, 2023

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UNITED STATES DISTRICT COURT
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THE HONORABLE
CITY OF PITTSTON, KAROLINE MEHALCHICK
PENNSYLVANIA,
No. 3:23-cev-00711-KM
Defendant.

CERTIFICATE OF SERVICE

I, Joseph J. Joyce, Il, hereby certify that a true and correct copy of the
foregoing Defendant City of Pittston’s brief in support of its motion for sanctions
pursuant to Federal Rule Civil Procedure 11 was served upon the following counsel
and parties of record via ECF and email as follows:

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Pro se

s/ Joseph J. Joyce, Ill
Joseph J. Joyce, TI

DATED: June 15, 2023
